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                 NANO FOUNDATION, LTD. and
               7 COLIN LeMahieu
               8                     UNITED STATES DISTRICT COURT
               9                   CENTRAL DISTRICT OF CALIFORNIA
              10
              11 NANO FOUNDATION, LTD., a New ) Case No. 2:19-cv-04237 DDP (PJWx)
                 York non-profit corporation; and      )
              12 COLIN   LeMAHIEU,     an  individual, ) PLAINTIFFS NANO
                                                       ) FOUNDATION, LTD. AND COLIN
              13             Plaintiffs,               ) LEMAHIEU'S OPPOSITION TO
                                                       ) DEFENDANT DAVID C. SILVER'S
              14       vs.                             ) SPECIAL MOTION TO STRIKE
                                                       ) COMPLAINT PURSUANT TO CAL.
              15 DAVID   C. SILVER,    an individual,  ) CODE CIV. PROC. § 425.16
                                                       )
              16             Defendant.                ) Date: August 5, 2019
                                                       ) Time: 1:30 p.m.
              17                                       ) Judge: Hon. Stephen V. Wilson
                                                       ) Ctrm: 10A - 10th Floor
              18                                       )
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               1                                       I.     INTRODUCTION
               2               Because (i) defendant David C. Silver’s ("Silver") special motion to strike,
               3 which relies upon outdated cases while ignoring applicable authority, cannot be
               4 granted prior to discovery under the Ninth Circuit’s Planned Parenthood decision, (ii)
               5 Silver’s statements were not in connection with a public issue, and (iii) Plaintiffs are
               6 likely to prevail, Silver’s instant anti-SLAPP motion should be denied.
               7                                 II.        STATEMENT OF FACTS
               8 A.            Silver Personally Attacked LeMahieu and Nano
               9               1.    Silver Gave a Speech to Industry Insiders and Investors
              10               Silver gave a keynote speech at The Blockchain Law Summit 2018 (the
              11 "Blockchain Summit") entitled Cryptocurrency, Blockchain and US Litigation -
              12 Yesterday, Today and Tomorrow (the "Speech"). (Declaration of Peter Scoolidge
              13 ("Scoolidge Decl."), Ex. A.) Blockchain is a "mathematical structure for storing data
              14 in a way that is nearly impossible to fake". (Declaration of Ryan Lapine ("Lapine
              15 Decl."), Ex. 1.) Cryptocurrency is an electronic form of currency stored in a
              16 blockchain, as the blockchain "makes it virtually impossible for someone to spend the
              17 same [cryptocurrency] twice, solving a problem that had hindered previous attempts
              18 to create digital cash." (Id.) The Blockchain Summit was a large cryptocurrency
              19 industry conference. (Scoolidge Decl., ¶ 3.) In attendance were the leaders from the
              20 major cryptocurrency startups, along with industry investors and scholars. (Id.)
              21               2.    A Brief Primer on Relevant Background Facts
              22               Colin LeMahieu, in 2015, released a cryptocurrency that utilized a novel
              23 block-lattice design to make transactions more efficient without sacrificing security.
              24 (Declaration of Colin LeMahieu ("LeMahieu Decl"), ¶ 2.) It came to be known as
              25 Nano. (Id.) Nano developed a sterling reputation. In early 2018, a periodical
              26 evaluating cryptocurrencies wrote that Nano "is objectively the best pure
              27 cryptocurrency"; it wrote "[o]f the pure cryptocurrencies (coins like Bitcoin, Bitcoin
              28 Cash and Litecoin that operate solely as currencies) it has no equal." (Lapine Decl.,
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               1 Ex. 2.) LeMahieu formed Nano Foundation, LTD to service the software that
               2 operates Nano. (LeMahieu Decl., ¶ 3.) Within the small cryptocurrency industry,
               3 LeMahieu was known to be Nano's developer and chief executive. (Scoolidge Decl.,
               4 ¶ 4.) Those at the Blockchain Summit would know the Nano developer, "head guy",
               5 and chief executive was LeMahieu, though random people on the street would not.
               6 (Id.)
               7               When Nano was lauded by industry periodicals as a "pure cryptocurrency"
               8 (Lapine Decl., Ex. 2), this was to differentiate it from alternative coins, otherwise
               9 known as internet coin offerings ("ICO"). An alternative coin or ICO is a cash-
              10 backed token given out as security in exchange for capital. (LeMahieu Decl., ¶ 4.)
              11 Alternative coin issuers profit if the market rate for their tokens exceed their initial
              12 capital backing. (Id.) Cryptocurrency coins, on the other hand, are released as
              13 computer code, mined by users from an internet site or application, called a faucet,
              14 and obtain value if and only if users view them as a reliable and trustworthy tool to
              15 facilitate electronic exchanges of goods and services. (Id.) Cryptocurrency coins
              16 are commodities that vary in value as a function of demand versus supply. (Id.)
              17 Because they are not cash-backed like alternative coins and, therefore, cannot be
              18 diluted by increased market saturation with a large cash-backed subsequent issuance
              19 that reduces scarcity and drives down value, cryptocurrency coins released at a
              20 known frequency from faucets derive inherent value from their existence as "pure
              21 cryptocurrency". (Id.) This would be a point widely known to the industry insiders
              22 and investors present at the Blockchain Summit. As Medium reported, Nano is a
              23 "pure cryptocurrency". (LeMahieu Decl, ¶ 2; Lapine Decl., Ex. 2.)
              24               Indeed, between the release of Nano on October 4, 2015 and October 20, 2017,
              25 126,248,289 Nano coins were generated. (LeMahieu Decl., ¶ 5.) On October 20,
              26 2017, LeMahieu publicly "closed the faucet" on the currency by stopping creation and
              27 distribution of Nano. (Id. at ¶ 6.) This is accomplished by destroying ("burning") the
              28 remaining Nano that could be generated. (Id.) On that date, LeMahieu burned the
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               1 remaining Nano on camera on a video that he posted to YouTube. (Id.) By the time
               2 of the Blockchain Summit, this was widely known within the cryptocurrency space
               3 and among cryptocurrency investors, executives, and startups. (Scoolidge Decl., ¶ 5.)
               4               Cryptocurrencies, like foreign currencies, are traded on exchanges.
               5 (LeMahieu Decl., ¶ 7.) An exchange is a third-party business that allows customers
               6 to purchase and sell cryptocurrency for other currencies, including national
               7 currencies like the dollar. (Id.) Beginning in March 2017, Nano was traded on
               8 cryptocurrency exchanges. (Id.)
               9               On April 20, 2017, Nano began being traded on a new cryptocurrency
              10 exchange called BitGrail, an Italy-based exchange run by an individual named
              11 Francesco Firano. (LeMahieu Decl., ¶ 8.) Neither LeMahieu nor Nano Foundation
              12 ever vouched for BitGrail or made any representations about it at all. (Id.)
              13 LeMahieu and Nano Foundation were never paid by BitGrail, nor did they ever
              14 make money off the Nano transactions that occurred through BitGrail. (Id.)
              15 However, BitGrail became a popular medium for the sale of Nano. (Id.)
              16               BitGrail suffered multiple hacks between July and October 2017 wherein
              17 approximately 10 million Nano coins were stolen by third-party hackers, including a
              18 hack in July 2017 wherein approximately 2.5 million Nano coins were stolen and
              19 another hack in October 2017 wherein approximately 7.5 million Nano coins were
              20 stolen. (LeMahieu Decl., ¶ 9.) The hackers were unrelated in any way to Nano
              21 Foundation, to LeMahieu, or to, on information and belief, Mr. Firano and BitGrail.
              22 (Id.) At the time, the approximately 10 million Nano coins stolen had a value of
              23 approximately $150,000,000. (Id.)
              24               Within minutes of learning of the hack on February 8, 2018, Nano Foundation
              25 immediately reported it to the Federal Bureau of Investigation. (LeMahieu Decl.,
              26 ¶ 10.) Nano Foundation and LeMahieu have taken all steps within their power to
              27 assist law enforcement in attempting to remedy the hack: they have exchanged
              28 numerous communications with the FBI, offered investigatory reports to law
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               1 enforcement, traveled to Italy to work with law enforcement there to discover the
               2 source of the hack, and created a forensic "block explorer" to track transactions to
               3 attempt to locate the stolen Nano. (Id.) Nano Foundation donated $1 million to
               4 fund legal efforts to assist victims recover their stolen coins. (Id.)
               5               This was not an "exit scam" perpetrated by LeMahieu and/or Nano as they took
               6 nothing from this theft, were not involved in it in any way, and did not own, control
               7 or operate BitGrail. (Id.) An "exit scam" is a complex theft that occurs when the
               8 owners of a purported cryptocurrency sell all or substantially all of their holdings for
               9 top dollar. (Scoolidge Decl., ¶ 6.) They then leave the cryptocurrency unsupported,
              10 they themselves disappear, they shut down dummy exchanges that they control on
              11 which the coin was traded, they steal for themselves some or all coins from those
              12 exchanges in so acting, they sell the cryptocurrency stolen from those exchanges on
              13 other exchanges for top dollar before the market becomes aware and can respond to
              14 their theft, and they thereby devalue those remaining, unsupported coins to next to
              15 nothing. (Id.) The term "exit scam" is well-known to those in the cryptocurrency
              16 industry and those in attendance at the Blockchain Summit. (Id.)
              17               3.    Silver Accused LeMahieu of Committing a Crime
              18               The Speech quickly went off the rails and devolved into a personal attack on
              19 LeMahieu and on Nano. Silver accused LeMahieu of committing a $150,000,000
              20 theft. He said of Nano and its executives:
              21         "They tell their customers 'if you really believe in Nano….. go to this small
              22         exchange in Italy that we don’t know anybody and we have nothing to do but we
              23         completely vouch for him and he’s running a legitimate exchange', we’re gonna
              24         give him the Nano, he’s gonna give us money every time he sells a Nano, he’s
              25         gonna take half and we’re gonna take half, we’re gonna get rich and then one
              26         day there’s gonna be an exit scam and then you’re gonna be out $150 million."
              27         (Scoolidge Decl., Ex. A.)
              28               4.    Silver Stated That LeMahieu Was Facing Criminal Charges in an
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               1                     Active Federal Case and Faced a Prison Sentence
               2               Silver doubled down on his accusation that LeMahieu committed a crime. He
               3 went on to say in the Speech:
               4         "When [the Nano developers] were asked to fix the problem and fork it, their
               5         response was 'it’s against our ethos.' … I don’t care where your ethos is, you live
               6         in the United states of America, there are laws here, those laws will be followed.
               7         We are now in Federal Court. When they tell the judge 'well, we don’t wanna
               8         give back the money' a Federal Court judge is gonna say 'well if you wanna stay
               9         here and you don’t wanna go to jail, you’re gonna give back the money'." (Id.)
              10               5.    Silver Spoke in Detail About LeMahieu's Divorce
              11               Silver turned to LeMahieu's marital troubles in the Speech, saying:
              12         "Uhhh Nano, the CEO and the head guy at Nano who holds 90% of the Nano at
              13         like $15 it was worth $1.4 billion, I think it's down to like $4, so I think it's only
              14         worth like $400,000,000 now. Uhhh, he got divorced from his wife last year. He
              15         decided that he was ready. He deserved better because he was now rich. She
              16         took all the money. And then, the financial affidavit, she, they, argued about
              17         how much the Nano was worth and what the Nano was. But I will tell you this:
              18         he said it had value and he said that he believed it was going up and he believed
              19         it was a security cause he put it on his security side of the affidavit." (Id.)
              20               6.    Silver Mischaracterized Nano
              21               Of the Nano, itself, Silver had this to say:
              22         "Nano is not really a real coin, they claim to be a real coin but what they couldn’t
              23         get, uh, any recognition in the United States Coinbase, Kraken, Poloniex,
              24         Bitfinex, Gemini, no one was willing to put them on their exchange. Why?
              25         ‘Cause they were an alternative coin and they weren’t really a real coin." (Id.)
              26 B.            Silver's Statements Were False
              27               1.    LeMahieu Did Not Commit a Crime
              28               As detailed, supra, there was no exit scam. LeMahieu and the other Nano
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               1 team members took nothing from BitGrail. (LeMahieu Decl., ¶ 10.) They did not
               2 receive anything from Nano sales on BitGrail. (Id.) They did not participate in or
               3 otherwise profit or take anything from the $150,000,000 BitGrail loss. (Id.)
               4 LeMahieu never encouraged anyone to use BitGrail. (Id.)
               5               2.    LeMahieu Was and Is Not Facing Criminal Charges Or Jail Time
               6               As detailed supra, Nano went to extraordinary lengths to help remedy the
               7 BitGrail loss. (LeMahieu Decl., ¶ 10.) Nobody from Nano ever said "it's against our
               8 ethos" to fix the problem. (Id. at ¶ 11.) A federal court judge could not have said to
               9 LeMahieu or his colleagues "if you wanna stay here and you don’t wanna go to jail,
              10 you’re gonna give back the money" as (1) none were facing criminal charges; and (2)
              11 they received nothing from the BitGrail loss that they could even return. (Id.)
              12               3.    Silver's Statements About LeMahieu's Divorce Were False
              13               On June 15, 2016, LeMahieu's wife filed for divorce, which LeMahieu did not
              14 contest. (LeMahieu Decl., ¶12.) At no time since June 15, 2016, has LeMahieu owned
              15 90% of the Nano in circulation. (Id.) He did not decide he "deserved better because he
              16 was now rich." (Id.) His wife did not "take all the money". (Id.) They did not fill out
              17 a financial affidavit in which they argued about the value of Nano, nor did LeMahieu
              18 put it on a "security side" of any such affidavit, nor did he make any statement as to
              19 the value of Nano in that proceeding. (Id.) It was a no-contest divorce.
              20               4.    Silver's Statements About Nano Were False
              21               Nano is a "pure cryptocurrency," not an alternative coin/ICO. (LeMahieu
              22 Decl, ¶ 2; Lapine Decl., Ex. 2.) Nano is and was on exchanges including Binance,
              23 the largest cryptocurrency exchange, and KuCoin. (LeMahieu Decl., ¶ 13.)
              24 C.            Silver's False Statements Caused Damage
              25               1.    Silver's False Statements Damaged LeMahieu
              26               LeMahieu's peers in the cryptocurrency industry were present for the Speech.
              27 (LeMahieu Decl., ¶ 14.) Having been falsely accused by the keynote speaker thereat
              28 of, inter alia, committing a crime, facing jail time, and divorcing his wife because
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 MEYER &                               PLAINTIFFS' OPPOSITION TO DEFENDANT'S SPECIAL MOTION TO
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               1 he "deserved better", LeMahieu was humiliated. (Id.) He suffered considerable
               2 emotional distress as a result of these outrageous false accusations. (Id.) Further,
               3 he has been shunned by certain of his industry peers, dimming his job prospects
               4 within his chosen profession. (Id.) Silver's statements have perpetuated industry
               5 confusion and have caused LeMaheu to be viewed as a criminal. (Id.)
               6 D.            Silver's False Statements Harmed Nano Foundation
               7               When Silver made his defamatory statements on May 24, 2018, one Nano
               8 coin was selling at approximately $4.56. (LeMahieu Decl., ¶ 15.) Almost
               9 immediately following Silver's mischaracterization of it to lead investors, demand
              10 waned. Nano's value plumetted, reaching a floor of less than $1 before leveling out
              11 at its current value of approximately $1.25. (Id.) Nano Foundation suffered a loss
              12 in excess of $500,000 given its Nano holdings. (Id.) Further, it was forced to incur
              13 extraordinary expenses to counter the defamatory statements made by Silver. (Id.)
              14 E.            The Release in the Brola Action Did Not Release Silver
              15               On April 6, 2018, Alex Brola filed a securities class action in the Eastern
              16 District of New York against defendants Mica Busch, Colin LeMahieu, Nano
              17 Foundation, Troy Retzer, and Zach Shapiro (the "Brola Action"). Silver represented
              18 Brola. (Dkt. 15-2, Ex. A.) The Brola Action did not include allegations regarding
              19 LeMahieu's marital divorce, why his marriage ended, or any allocation of his marital
              20 property. (Id.) Brola dismissed that action with prejudice, on September 28, 2018.
              21 (Plaintiffs’ Request for Judicial Notice ("RJN"), Ex. 1.) On January 3, 2019, James
              22 Fabian filed a new and substantially similar class action lawsuit against, inter alia,
              23 Nano Foundation and LeMahieu in the Northern District of California. (RJN, Ex. 2.)
              24 Silver represented Fabian. (Id.) On July 11, 2019, the district court granted the
              25 defendants' motion to dismiss that action. (RJN, Ex. 3.)
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              12                                                              The release did not release him.
              13                                     III.   LEGAL ANALYSIS
              14 A.            LEGAL STANDARD
              15               California state law allows for pre-trial dismissal of strategic lawsuits against
              16 public participation, otherwise known as SLAPPs. Cal. Code Civ. P. § 425.16.
              17               Application of the law to a special motion to strike "involves two steps. First,
              18 the defendant must establish that the challenged claim arises from activity protected
              19 by section 425.16. If the defendant makes the required showing, the burden shifts to
              20 the plaintiff to demonstrate the merit of the claim by establishing a probability of
              21 success." Baral v. Schnitt, 1 Cal.5th 376, 384-85 (2016) (citation omitted); accord
              22 Hilton v. Hallmark Cards, 599 F.3d 894, 901-902 (9th Cir. 2009).
              23               California’s anti-SLAPP law is not absolute and "does not insulate defendants
              24 from any liability for claims arising from the protected rights of petition or speech. It
              25 only provides a procedure for weeding out, at an early stage, meritless claims arising
              26 from protected activity." Baral, supra, 1 Cal.5th at 384 (emphases in original).
              27               To show a reasonable probability of success, "the plaintiff must demonstrate
              28 that the complaint is legally sufficient and supported by a prima facie showing of
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               1 facts to sustain a favorable judgment if the evidence submitted by the plaintiff is
               2 credited." Planned Parenthood Federation of America, Inc. v. Center for Medical
               3 Progress, 890 F.3d 828, 833, amended 897 F.3d 1224 (9th Cir. 2018) Only "when a
               4 plaintiff presents an insufficient legal basis for his or her claim or when no
               5 sufficiently substantial evidence exists to support a judgment for him or her" should
               6 "a defendant’s anti-SLAPP motion [] be granted." Id. at 833.
               7               1.    Under Planned Parenthood, An Anti-SLAPP Motion Based on
               8                     Factual Insufficiency Cannot Be Granted Before Discovery is Taken
               9               Given recent Ninth Circuit opinions, continued application of California’s
              10 anti-SLAPP statute in federal court is questionable. See Planned Parenthood, 890
              11 F.3d at 833; Makaeff v. Trump University, LLC, 715 F.3d 254, 274 (9th Cir. 2013)
              12 (Kozinski, C.J., concurring) (rejecting application of the California anti-SLAPP
              13 statute in federal court on Erie grounds), 715 F.3d 254, 276 (Paez, J., concurring);
              14 accord Los Lobos Renewable Power, LLC v. Americulture, Inc., 885 F.3d 659, 672-
              15 73 (10th Cir. 2018), cert denied, 139 S.Ct. 591 (2018)(anti-SLAPP statutes do not
              16 apply in federal courts); Abbas v. Foreign Policy Grp., LLC, 783 F.3d 1328, 1333-
              17 37 (D.C. Cir. 2015) (same).
              18               Planned Parenthood held that to reconcile state and federal procedural rules,
              19 anti-SLAPP motions must be evaluated "under different standards depending on the
              20 motion’s basis." Planned Parenthood, 890 F.3d at 833. If the motion is "based on
              21 legal deficiencies, Plaintiff is not required to present prima facie evidence
              22 supporting Plaintiff’s claims." Id. Fed. R. Civ. P. 8 and 12 standards are applied to
              23 an anti-SLAPP motion "founded on purely legal arguments." Id. When the
              24 challenge is only to the sufficiency of the pleadings, plaintiffs are not required to
              25 "present[] evidence showing that their claims have minimal merit." Id. at 834. If
              26 the motion “is a factual challenge, then the motion must be treated as though it were
              27 a motion for summary judgment and discovery must be permitted." Id. at 833.
              28               Elaborating, the court held: "[O]n the one hand, when an anti-SLAPP motion
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ROSENFELD,                                                        9
 MEYER &                               PLAINTIFFS' OPPOSITION TO DEFENDANT'S SPECIAL MOTION TO
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               1 to strike challenges only the legal sufficiency of a claim, a district court should
               2 apply the Federal Rule of Civil Procedure 12(b)(6) standard and consider whether a
               3 claim is properly stated. And, on the other hand, when an anti-SLAPP motion to
               4 strike challenges the factual sufficiency of a claim, then the Federal Rule of Civil
               5 Procedure 56 standard will apply. But in such a case, discovery must be allowed,
               6 with opportunities to supplement evidence based on the factual challenges, before
               7 any decision is made by the court." Planned Parenthood, 890 F.3d at 834.
               8               Silver's anti-SLAPP motion appears to challenge both the legal and factual
               9 sufficiency of Plaintiffs’ claims. See, e.g., Motion at 9:11-12, 14-15 ("In the instant
              10 matter, it is apparent that Attorney Silver’s challenged statements arise from activity
              11 protected by the anti-SLAPP statute. … Moreover, it is clearly improbable that
              12 Plaintiffs will prevail on the claims alleged in their lawsuit."), 13:15-16 ("there is no
              13 evidence of ‘falsity’ in Attorney Silver’s comments; and Plaintiffs cannot remotely
              14 sustain their actual malice burden of proof."). Therefore, consistent with Planned
              15 Parenthood, should the Court not simply deny Silver's motion on its merits, thorough
              16 discovery must be allowed before any decision striking Plaintiffs' Complaint.
              17 B.            SILVER FAILS TO ESTABLISH THE FIRST ANTI-SLAPP PRONG
              18               To meet his initial burden of showing that the challenged claim is one 'arising
              19 from' protected activity, Silver has to show the act or acts that formed the basis for
              20 Plaintiffs' claims were an "act in furtherance of a person's right of petition or free
              21 speech under the United States or California Constitution in connection with a public
              22 issue" which falls within one of the following four specified categories of conduct set
              23 forth in California Code of Civil Procedure § 425.16(e):
              24                "any written or oral statement or writing made before a legislative,
              25                 executive, or judicial proceeding, or any other official proceeding
              26                 authorized by law" [Cal. Code Civ. P. § 425.16(e)(1)]
              27                "any written or oral statement or writing made in connection with an issue
              28                 under consideration or review by a legislative, executive, or judicial body,
LAW OFFICES
ROSENFELD,                                                        10
 MEYER &                               PLAINTIFFS' OPPOSITION TO DEFENDANT'S SPECIAL MOTION TO
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               1                    or any other official proceeding authorized by law" [§ 425.16(e)(2)]
               2                   "any written or oral statement or writing made in a place open to the public or
               3                    a public forum in connection with an issue of public interest" [§425.16(e)(3)]
               4                   "any other conduct in furtherance of the exercise of the constitutional right of
               5                    petition or the constitutional right of free speech in connection with a public
               6                    issue or an issue of public interest" [Cal. Code Civ. P. § 425.16(e)(4).]
               7               Silver bases his special motion to strike on § 425.16(e)(1), (2), and (3), but
               8 also appears to rely on § 425.16(e)(4). However, none of the four (4) defamatory
               9 statements alleged in Plaintiffs' complaint fall under any of said categories.
              10               1.      The Statements Were Not Made Before An Official Proceeding
              11               The first category of protected speech is completely inapplicable to Silver's
              12 defamatory statements. By Silver's own admission, he made the statements at an
              13 industry conference, not "before" any legislative, executive, or judicial proceeding
              14 or other official proceeding. Motion at 3:3-20; Silver Declaration, ¶ 5. The
              15 statements are not shielded by this category of speech.
              16               2.      They Were Not Made In Connection With An Official Proceeding
              17               The second category of conduct protected by § 425.16 is statements made "in
              18 connection with" an issue under consideration in an official proceeding. This
              19 category is narrower than the category protected by the litigation privilege in Civil
              20 Code § 47. Lefebvre v. Lefebvre, 199 Cal.App.4th 696, 704-705 (2011) ("By parity
              21 of reasoning, Civil Code section 47 does not operate as a limitation on the scope of
              22 the anti-SLAPP statute ... we reject [the] contention that, because some forms of
              23 illegal litigation-related activity may be privileged under the litigation privilege, that
              24 activity is necessarily protected under the anti-SLAPP statute" (citations omitted)).
              25               Silver’s unsubstantiated assertions to the contrary notwithstanding, Plaintiffs’
              26 respective causes of action are not predicated upon any statement made by Silver
              27 either before a legislative, executive, or judicial proceeding, or any other official
              28 proceeding authorized by law, or in connection with an issue under consideration by
LAW OFFICES
ROSENFELD,                                                           11
 MEYER &                                  PLAINTIFFS' OPPOSITION TO DEFENDANT'S SPECIAL MOTION TO
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               1 a legislative, executive, or judicial body, or any other official proceeding authorized
               2 by law. See, e.g., Rand Resources, LLC v. City of Carson, 6 Cal.5th 610, 620
               3 (2019) ("By requiring the communication to be in connection ‘with an issue under
               4 consideration or review’, the terms of subdivision (e)(2) make clear that ‘it is
               5 insufficient to assert that the acts alleged were ‘in connection with’ an official
               6 proceeding.’ Instead, ‘[t]here must be a connection with an issue under review in
               7 that proceeding.’") (citations omitted).
               8               While Silver claims a shield from liability exists for communications "related
               9 to" judicial proceedings [Motion at 9:13-14], the cases to which he cites in particular1
              10 and the law in general do not support such a broad construction. A statement is "in
              11 connection with" an issue under consideration by a court in a judicial proceeding if it
              12 relates to a substantive issue in the proceeding and is directed to a person having "some
              13 interest in the litigation." Neville v. Chudacoff, 160 Cal.App.4th 1255, 1266 (2008).
              14               Here, Silver's statements were not made to people with an "interest in the
              15 litigation." If Silver had wanted to direct his false accusations to people with an
              16 interest in the litigation, he would have directed them toward potential class members
              17 whose Nano had been stolen by the third-party hackers. Instead, he went to a meeting
              18 of cryptocurrency industry leaders, branded himself as a cryptocurrency litigation
              19 expert, and made a bombastic, self-promoting speech about his accomplishments in
              20 the field of cryptocurrency litigation in order to, inter alia, drum up additional
              21 business. Such conduct is not protected under § 425.16(e)(2).
              22               Further, statements on incidental or tangential issues which are not relevant to
              23 the determination of the judicial proceeding or under consideration are not "under
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              25     In contrast to the present dispute, none of the cases to which Silver cites involved
                 actions or statements not directed to achieving the objects of pending or
              26 contemplated litigation. That is because, in order to qualify for protection, out-of-
                 court statements must have both a “reasonable relation to the action and [be] made
              27 to achieve the objects of the litigation ….” Rosenthal v. Irell & Manella, 135 Cal.
                 App.3d 121, 126 (1982) (emphasis added); see, e.g., Rusheen v. Cohen, 37 Cal.4th th
              28 1048 (2006) (filing of false affidavit of service privileged); Rubin v. Green, 4 Cal.4
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                 1187 (1993) (notice of intention to commence legal action privileged).
ROSENFELD,                                                        12
 MEYER &                               PLAINTIFFS' OPPOSITION TO DEFENDANT'S SPECIAL MOTION TO
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               1 consideration" or review and therefore not protected. Paul v. Friedman, 95
               2 Cal.App. 4th 853, 867-868 (2002) ("However, a lawyer's attempt to inject an issue
               3 into a proceeding does not render the issue relevant, nor can the attempted injection
               4 of an irrelevant matter transform it into an issue 'under consideration or review' in
               5 the proceeding. By definition, irrelevant matters have no tendency in reason to prove
               6 or disprove any disputed fact of consequence to the determination of a matter, and
               7 are specifically excluded from consideration.").
               8               Here, Silver's statements were not mere recitations of allegations made in the
               9 lawsuit he filed. They were wild, utterly false accusations about Nano Foundation
              10 and LeMahieu's criminal conspiracy, baseless claims that they were under
              11 investigation (which they were not), personal insults about LeMahieu's divorce
              12 which had no basis in fact, fabricated claims that Nano Foundation made
              13 incriminating public statements (which it never made), and lies about how the Nano
              14 technology works at a basic level.
              15               "The Legislature enacted section 425.16 to prevent and deter [lawsuits]
              16 'brought primarily to chill the valid exercise of the constitutional rights of freedom
              17 of speech and petition for the redress of grievances.' (§ 425.16, subd. (a).)" Varian
              18 Medical Systems, Inc. v. Delfino, 35 Cal.4th 180, 192 (2005) (emphasis added). The
              19 statute was not enacted to allow attorneys to run wild with baseless defamatory
              20 statements to drum up new clients so long as the attorney was already suing the
              21 defamed party on other grounds. The Court should not allow Silver to do so here.
              22               3.    They Were Not Made Connected to An Issue Of Public Interest
              23               Silver's statements also do not fall under the third or fourth categories of speech
              24 in § 425.16, because they were not in connection with an issue of public interest.
              25               "[A] defendant must do more than identify some speech touching on a matter
              26 of public interest. As we have explained, ‘‘the defendant’s acts underlying the
              27 plaintiff’s cause of action must itself have been an act in furtherance of the right of
              28 petition or free speech.’’ In other words, a claim does not ‘arise from protected
LAW OFFICES
ROSENFELD,                                                         13
 MEYER &                                PLAINTIFFS' OPPOSITION TO DEFENDANT'S SPECIAL MOTION TO
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               1 activity simply because it was filed after, or because of, protected activity, or when
               2 protected activity merely provides evidentiary support or context for the claim.
               3 Rather, the protected activity must supply elements of the challenged claim.’" Rand
               4 Resources, LLC v. City of Carson, 6 Cal.5th 610, 621 (2019) (citations omitted).
               5               Even more recently, in FilmOn.com Inc. v. DoubleVerify Inc., 7 Cal.5th 133
               6 (2019) ("FilmOn.com"), California’s Supreme Court confirmed that the
               7 determination of the first step is itself dependent upon a two-step analysis, requiring
               8 the defendant to prove both a "public issue" and the "connection" to the public issue.
               9 In the process, California’s Supreme Court substantially narrowed the scope of what
              10 a "public issue" is for purposes of the State’s anti-SLAPP statute.2
              11               The public issue inquiry, the court stated, requires its own "two-part analysis
              12 rooted in the statute’s purpose and internal logic. First, we ask what ‘public issue or []
              13 issue of public interest’ the speech in question implicates – a question we answer by
              14 looking to the context of the speech. [Citation.] Second, we ask what functional
              15 relationship exists between the speech and the public conversation about some matter
              16 of public interest. It is at the latter stage that context proves useful." Id. at 1165.
              17               Regarding the first part of the analysis, the court opined that "the focus of [the
              18 court’s] inquiry must be on the ‘specific nature of the speech,’ rather than on any
              19 ‘generalities that might be abstracted from it.’ [Citation.]" Id. at 1167.
              20               As to the second part, i.e., the functional relationship between the offending
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                   2
              22       FilmOn.com involved a plaintiff suing the defendant, a business offering tracking
                   and “brand safety” services to its Internet advertiser clients, for disparaging its film
              23   distribution business in confidential reports distributed to the defendant’s clients that
                   described FilmOn’s website as containing adult content and copyright-infringing
              24   material, which it alleged was false. Granting and then affirming on appeal the
                   defendant’s special motion to strike, the lower courts had concluded that the
              25   defendant’s speech was in connection with a public issue because “the public ha[s] a
                   demonstrable interest in knowing what content is available on the Internet, especially
              26   with respect to adult content and the illegal distribution of copyrighted materials.”
                   FilmOn.com, 7 Cal.5th at 1160. California’s Supreme Court reversed, holding
              27   instead that the defendant’s alleged disparagement of the plaintiff’s web-based
                   entertainment programming as “adult content” or “copyright infringement,” contained
              28   in confidential reports distributed to the defendant’s Internet advertiser clients, did not
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                   meet the “public issue” requirement. Id. at 1159.
ROSENFELD,                                                         14
 MEYER &                                PLAINTIFFS' OPPOSITION TO DEFENDANT'S SPECIAL MOTION TO
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               1 statement and the asserted public issue, the court held there must be "some degree of
               2 closeness between the challenged statements and the asserted public interest." Id. at
               3 1165 (internal quotes omitted). It is not enough that a defendant’s statements refer
               4 or relate to a subject of broad public interest, as Silver contends. Rather, "the
               5 statement must in some manner itself contribute to the public debate." Id. at 1166
               6 (emphasis added). As the court explained, contributing to the public debate means
               7 that through a defendant’s statements he or she "participated in, or furthered, the
               8 discourse that makes an issue one of public interest." Id.3
               9               Applying the foregoing criteria to the matter at hand, Silver's special motion
              10 to strike fails to meet either part of the analysis.
              11               First, the specific nature of four defamatory statements that form the basis of
              12 Plaintiffs' action was not, as Silver contends, about Silver’s lawsuit or "putative class
              13 victims' actions seeking redress." They were reckless and offensive lies about
              14 LeMahieu's divorce have nothing to do with Silver's lawsuit or with any public issue
              15 or issue of public interest. Silver stated that LeMahieu divorced his wife because he
              16 got rich and didn't need her anymore. Those statements had no basis in fact or
              17 relevance to the subject of Silver's lawsuit; instead, it was an attack on LeMahieu's
              18 character, an act of puffery to cast Silver as a heroic attorney suing the bad guys. See
              19 Time, Inc. v. Firestone, 424 U.S. 448, 454 (1976) (salacious divorce of well-known
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              21       Accord Rand Resources, 6 Cal.5th at 625 ("At a sufficiently high level of
                   generalization, any conduct can appear rationally related to a broader issue of public
              22   importance. What a court scrutinizing the nature of speech in the anti-SLAPP context
                   must focus on is the speech at hand, rather than the prospects that such speech may
              23   conceivably have indirect consequences for an issue of public concern."); Bikkina v.
                   Mahadevan, 241 Cal.App.4th 70, 85 (2015) (“Here, the specific nature of the speech
              24   was about falsified data and plagiarism in two scientific papers, not about global
                   warming.”); Consumer Justice Center v. Trimedica International, Inc., 107
              25   Cal.App.4th 595, 601 (2003) (“If we were to accept [defendant's] argument that we
                   should examine the nature of the speech in terms of generalities instead of specifics,
              26   then nearly any claim could be sufficiently abstracted to fall within the anti-SLAPP
                   statute.”); Commonwealth Energy Corp. v. Investor Data Exchange, Inc., 110
              27   Cal.App.4th 26, 34 (2003) (“While investment scams generally might affect large
                   numbers of people, the specific speech here was a telemarketing pitch for a particular
              28   service marketed to a very few number of people ... The speech was about
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                   [defendant's] services, not about investment scams in general.”)(emphasis in original).
ROSENFELD,                                                        15
 MEYER &                               PLAINTIFFS' OPPOSITION TO DEFENDANT'S SPECIAL MOTION TO
SUSMAN LLP
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               1 persons did not involve issue of public interest "even though the marital difficulties of
               2 extremely wealthy individuals may be of interest to some portion of the reading
               3 public").
               4               Silver's defamatory statements also included statements that Nano is "not
               5 really a real coin", that it was not on exchanges, that Nano Foundation and
               6 LeMahieu tell their customers words to the effect of "if you really believe in Nano ...
               7 go to this small exchange in Italy that we don’t know anybody and we have nothing
               8 to do but we completely vouch for him and he’s running a legitimate exchange," that
               9 Nano Foundation and LeMahieu received money every time Nano was sold on
              10 Bitgrail and that money would be split 50/50, that they would "get rich", that they
              11 staged a criminal exit scam, that they said assisting law enforcements was "against
              12 [their] ethos," that they were criminals, and would "go to jail." Thus, these
              13 statements were not only false, but also not about the lawsuit or class victims' rights.
              14               Second, the connection between Silver's false and defamatory statements
              15 about Plaintiffs alleged in the Complaint and the public interest asserted by Silver is
              16 attenuated at best. The presentation was initially made to a group of industry
              17 leaders who paid to attend. It was predominantly, if not entirely, a self-promoting
              18 pitch by Silver for other legal business. Further, attacks on LeMahieu's marriage
              19 and divorce do not contribute to any public debate. Nor do false accusations that he
              20 committed a crime, that he profited from exchanges of cryptocurrency, or that he
              21 will go to jail if he does not return monies he never received.
              22               Silver’s failure to meet his burden on the first step is dispositive.
              23 C.            DENIAL IS PROPER AS IT IS REASONABLY PROBABLE THAT
              24               PLAINTIFFS WILL SUCCEED ON THEIR CLAIMS
              25               "Reasonable probability in the anti-SLAPP statute has a specialized meaning.
              26 The statute requires only a minimum level of legal sufficiency and triability. Indeed,
              27 the second step of the anti-SLAPP inquiry is often called the minimal merit prong."
              28 Mindys Cosmetics, Inc. v. Dakar, 611 F.3d 590, 598 (9th Cir. 2010); see, Manzari v.
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ROSENFELD,                                                          16
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               1 Associated Newspapers, 830 F.3d 881, 889 (9th Cir. 2016) (plaintiff alleging
               2 defamation need only establish "her claim has ‘minimal merit’" to survive anti-
               3 SLAPP motion). Plaintiffs need only demonstrate that their complaint is "legally
               4 sufficient and supported by a prima facie showing of facts to sustain a favorable
               5 judgment if the evidence submitted by the plaintiff is credited." Planned
               6 Parenthood, 890 F.3d at 833.
               7               The motive in bringing the action or in the conduct of the action is irrelevant
               8 to the anti-SLAPP analysis. City of Cotati v. Cashman, 29 Cal.4th 69, 78 (2002).
               9               "Since an Anti-SLAPP motion is brought at an early stage of proceedings, the
              10 plaintiff’s burden of establishing a probability of success is not high." Browne v.
              11 McCain, 611 F.Supp.2d 1062, 1068 (C.D. Cal. 2009). Plaintiff is to be granted "a
              12 degree of leeway in establishing a probability of prevailing on its claims due to 'the
              13 early stage at which the [anti-SLAPP] motion is brought and heard and the limited
              14 opportunity to conduct discovery.'" Integrated Healthcare Holdings, Inc. v.
              15 Fitzgibbons, 140 Cal.App.4th 515, 530 (2006) (citation omitted).
              16               1.    LeMahieu Is Likely To Succeed On His Defamation Claims
              17               "The elements of a defamation claim are (1) a publication that is (2) false, (3)
              18 defamatory, (4) unprivileged, and (5) has a natural tendency to injure or causes
              19 special damage. 'In general, … a written communication that is false, that is not
              20 protected by any privilege, and that exposes a person to contempt or ridicule or
              21 certain other reputational injuries, constitutes libel.' The defamatory statement must
              22 specifically refer to, or be '"of [or] concerning,"' the plaintiff." Jackson v.
              23 Mayweather, 10 Cal.App.5th 1240, 1259 (2017).
              24               Silver does not challenge the first element, that the defamatory statements at
              25 issue were published. He made the statements at an industry conference and they
              26 were republished to YouTube. Silver does not present any evidence that the
              27 defamatory statements were not false. As detailed above, each of the statements
              28 was materially and blatantly false. Silver does not argue that the defamatory
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               1 statements did not cause Plaintiffs harm. As detailed above, the statements damaged
               2 them. Even were damages not proven, the law presumes damages given the nature
               3 of the statements. Sommer v. Gabor, 40 Cal.App.4th 1455,1472-73 (1995).
               4               Silver argues, instead, that (a) his statements were privileged under the
               5 litigation privilege and (b) LeMahieu is a limited public figure and cannot meet the
               6 "actual malice" burden of proof. Silver is wrong on both arguments.
               7                     (a)   The Statements are Not Privileged Under Section 47
               8               Silver accused LeMahieu of engaging in criminal acts, specifically an "exit
               9 scam" whereby he would "take half" of all Nano sold on an Italian exchange, that
              10 the exchange was "gonna give [LeMahieu] money every time" a Nano was sold, that
              11 LeMahieu would "get rich" while consumers were "out $150 million" due to the
              12 "exit scam". Silver accused LeMahieu of saying "it's against our ethos" to fix that,
              13 countering "you live in the United States of America, there are laws here, those laws
              14 will be followed" to indicate LeMahieu committed a crime. Silver doubled down,
              15 accusing him of facing active criminal charges, stating "[w]e are now in Federal
              16 Court … a Federal Court judge is gonna say 'well if you wanna stay here and you
              17 don't wanna go to jail, you're gonna give back the money." These statements were
              18 then republished on the Internet, on YouTube.
              19               These statements were false and inflammatory. LeMahieu and the Nano
              20 developers did not receive anything from BitGrail or from the BitGrail hack. They
              21 did not participate in or profit from an exit scam, nor did they ever say that it was
              22 against their ethos to return monies, which they could not do, as they received
              23 nothing. Moreover, they are not the target of a criminal inquiry, much less in
              24 Federal court on criminal charges. Silver maliciously and vindictively lied.
              25               In his motion, Silver argues that his fantastic lies were privileged under the
              26 litigation privilege codified in Civil Code § 47(b). He is mistaken; they are not.
              27               The litigation privilege "applies to any communication (1) made in judicial or
              28 quasi-judicial proceedings; (2) by litigants or other participants authorized by law; (3)
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               1 to achieve the objects of the litigation; and (4) that have some connection or logical
               2 relation to the action." Silberg v. Anderson, 50 Cal.3d 205, 212 (1990) ("Silberg").
               3 Commonly called the "furtherance" test, to qualify for the privilege a communication
               4 must be made "in furtherance of the objects of the litigation." Id. at 219.
               5               The privilege "does not apply where publication is to persons in no way
               6 connected with the proceeding." Susan A. v. County of Sonoma, 2 Cal.App.4th 88,
               7 93 (1991). Statements to nonparticipants in the litigation are not privileged, even if
               8 the statement is merely a "republication" of allegations in the case. Silberg, 50
               9 Cal.3d at 219. "Statements to nonparticipants in the action are generally not
              10 privileged under section 47(b), and are thus actionable unless privileged on some
              11 other basis." Rothman v. Jackson, 49 Cal.App.4th 1134, 1141 (1996).4
              12               GetFugu, Inc. v. Patton Boggs LLP, 220 Cal.App.4th 141 (2013), is
              13 particularly instructive. There, plaintiffs' attorneys in a shareholder suit issued a
              14 press release on the lawsuit and an alleged related FBI investigation on GetFugu and
              15 its principal, asking for "investigative leads" and "tips." Id. at 145-46. After the
              16 underlying case resolved, GetFugu and its principal sued for defamation. An anti-
              17 SLAPP motion claiming the press release was directed only to the "investment
              18 community" and was shielded by the litigation privilege because the investment
              19 community had an interest in the outcome of the matter resulted. Id. at 148-49.
              20               Reversing the trial court’s grant of the anti-SLAPP motion, the appellate court
              21 found the press release not privileged: "The press release and Tweet were posted on
              22 the Internet and thus were released worldwide. Dissemination of these publications to
              23 a segment of the population as large as the ‘investment community’ is essentially the
              24 same as disclosure to the general public. If anyone with an interest in the outcome of
              25 the litigation is a person to whom a privileged communication could be made, Silberg
              26   4
                    Indeed, under state law, a finding that out-of-court statements made to non-
              27 participants are privileged under § 47(b) constitutes reversible error. Id. at 1138 ("We
                 reverse. The challenged statements were made by the defendants in a press
              28 conference, and not in any context which the litigation privilege exists to protect. The
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                 privilege in section 47(b) does not apply to the statements made in this case.").
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               1 and Rothman would be eviscerated. We conclude the March 22, 2010 press release
               2 and the August 31, 2010 Tweet are not shielded by the litigation privilege." Id. at 154.
               3               Silver further argues that he is shielded from liability because his statements
               4 were a "fair and true" report of the lawsuit he filed on behalf of Alex Brola. As with
               5 many of Silver’s arguments5, he grossly mischaracterizes the law when asserting
               6 that any "fair and true" report of a judicial proceeding is absolutely privileged.
               7 California Civil Code § 47(d)(1) expressly states that the privilege to which Silver
               8 refers applies to "a fair and true report in, or a communication to, a public journal."
               9 If it were otherwise, any litigant could publicly defame anyone with complete
              10 impunity by first stating the defamatory matter in court. Silver's statements were
              11 not made to a "public journal"; they were made at an industry conference.
              12               In addition to the fantastic lies at issue in LeMahieu's claim for defamation
              13 per se, Silver also told lies about LeMahieu's finances and marriage, alleging that
              14 LeMahieu "holds 90% of the Nano." Of the painful end to LeMahieu's marriage,
              15 Silver said "he got divorced from his wife last year. He decided that he was ready.
              16 He deserved better because he was now rich. She took all the money. And then, the
              17 financial affidavit, she, they, argued about how much the Nano was worth and what
              18 the Nano was. But I will tell you this: he said it had value and he said that he
              19 believed it was going up and he believed it was a security cause he put it on his
              20 security side of the affidavit." Such statements of fact were all false.
              21               Silver contends these statements fall within the penumbra of the litigation
              22 privilege and, therefore, LeMahieu's claim fails because they were "all comments
              23 upon … the then-pending First Nano lawsuit." This lacks any semblance of candor
              24
                   5
              25     For example, Silver’s assertion that Ampex Corp. v. Cargle, 128 Cal.App.4th
                 1569 (2005), held “that to prevail on claims for defamation involving an issue of
              26 ‘public interest,’ plaintiff must prove ‘actual malice under section 425.16” [Motion
                 at 10:23-25, fn. 36], is categorically incorrect. What the court actually held therein
              27 was merely that “limited purpose public figures such as respondents who sue for
                 defamation must establish a probability that they can produce clear and convincing
              28 evidence that the allegedly defamatory statements were made with knowledge of
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                 their falsity or with reckless disregard of their truth or falsity.” Id. at 1578.
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               1 or merit. Said action did not in any way involve LeMahieu's marriage, his personal
               2 finances, or the reasons why his marriage dissolved. The parties were not litigating
               3 whether LeMahieu "deserved better because he was now rich," a truly repulsive lie.
               4 These statements are not privileged. Silberg, 50 Cal.3d at 219.
               5                     (b)   Plaintiffs are not public figures.
               6               "Whether an individual [or entity] is a public figure is a question of law that
               7 must be assessed through a totality of the circumstances." Manzari v. Associated
               8 Newspapers, 830 F.3d at 888. One must be "famous or infamous because of who he
               9 is or what he has done," to be considered a public figure for defamation purposes.
              10 Cepeda v. Cowles Magazine & Broad, Inc., 392 F.2d 417, 419 (9th Cir. 1968).
              11               As the Supreme Court explained in Gertz v Robert Welch, Inc., requiring a
              12 plaintiff who is a public figure to bear a higher burden of proof to recover damages
              13 for defamation is based on two major rationales: (1) limited or general-purpose
              14 public figures "voluntarily expose[] themselves to increased risk of injury"; and (2)
              15 they have "significantly greater access to the channels of effective communication."
              16 418 U.S. 323, 344-45 (1974). A voluntary public figure is one who "assume[s a]
              17 role[]s of especial prominence in the affairs of society" or "thrust[s] themsel[f] to
              18 the forefront of particular public controversies." Id. at 345.
              19               Nano Foundation is a non-profit corporation. LeMahieu is its executive
              20 officer. Such an ordinary business person is not a public figure as a matter of law.
              21 See, Kamfar v. New World Restaurant Group, Inc., 347 F.Supp.2d 38, 46, (S.D.N.Y.
              22 2004); Rancho La Costa, Inc. v. Superior Court, 106 Cal.App.3d 646, 660 (1980).
              23 Even were Nano not a local non-profit, but instead a global corporation, the analysis
              24 would not change. See, Waldbaum v. Fairchild Publications, Inc., 627 F.2d 1287,
              25 1299 (D.C. Cir. 1980) ("being an executive within a prominent and influential
              26 company does not by itself make one a [limited purpose] public figure"); see also
              27 Lawlor v. Gallagher Presidents' Report, Inc., 394 F.Supp. 721, 731 (S.D.N.Y. 1975)
              28 (court rejected that high-level executive in major corporation was a public figure
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               1 regarding a publication "directed exclusively at that group" as "untenable … such a
               2 rule would sweep all corporate officers under the restrictive New York Times rule
               3 and distort the plain meaning of the public figure category beyond all recognition").
               4               Similarly, that any of the statements were about Nano Foundation or its
               5 products does not change the complexion of them. The false statements at issue
               6 address how LeMahieu reported assets in his divorce, why he got a divorce, and what
               7 property he personally holds. Further, they falsely accuse LeMahieu of committing a
               8 crime and of being the subject of a criminal action. These are essentially private
               9 concerns. A private conflict does not "transform" "into an issue of public concern
              10 simply by arguing that his speech might have been of interest to the public". Dorsett v.
              11 Bd. of Trustees for State Colleges & Universities, 940 F.2d 121, 124 (5th Cir. 1991).
              12 The statements at issue are not public issues as a matter of law. Rancho La Costa,
              13 Inc, 106 Cal.App.3d at 660 ("[m]erely because a corporation sells services to the
              14 public ... and merely because it employs and has access to the media to advertise its
              15 services ... does not mean that such ability gives the corporation the status of one with
              16 greater power of persuasion on public issues, controversial or not, or all-pervasive
              17 influence. Thus it is apparent that neither the 'public interest' ... nor the voluntarily-
              18 thrusting-into-public-controversy test ... applies").
              19               "Spreading false information in and of itself carries no First Amendment
              20 credentials". Herbert v. Lando, 441 U.S. 153, 171 (1979). "It is speech on matters
              21 of public concern that is at the heart of the First Amendment's protection." Dun &
              22 Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 758–59 (1985).
              23 Statements "involv[ing] a matter of purely private concern communicated between
              24 private individuals" does not "rais[e] a First Amendment issue". Savage v. Pac. Gas
              25 & Elec. Co., 21 Cal.App.4th 434, 445 (1993); see, Milkovich v. Lorain Journal Co.,
              26 497 U.S. 1, 19-21 (1990). The statements at issue were made about a private figure
              27 on a matter of private concern and thus are not shielded by the First Amendment.
              28               Even if LeMahieu and/or Nano Foundation are deemed public figures, they
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               1 would each still succeed in making the requisite showing actual malice. "Actual
               2 malice" means "knowledge that [a statement] was false" or "reckless disregard of
               3 whether it was false or not." Flowers v. Carville, 310 F.3d 1118, 1129 (9th Cir
               4 2002), citing New York Times Co. v. Sullivan, 376 U.S. 254, 280 (1964). "The
               5 plaintiff can meet this burden by showing either that the defendant knew his
               6 statements were probably false, or that he disregarded obvious warning signs of
               7 falsity." Id. at 1129. "A defamation plaintiff may rely on inferences drawn from
               8 circumstantial evidence to show actual malice." Makaeff v. Trump University, LLC,
               9 26 F.Supp.3d 1002 at 1007-1008 (S.D. Cal. 2014), citing Christian Research Inst. v.
              10 Alnor, 55 Cal.Rptr.3d 600, 612 (2007). "Actual malice" presents a question of fact.
              11 Masson v. New Yorker Magazine, Inc., 501 U.S. 496, 513 (1991).
              12               As Plaintiffs have established, supra, Silver's statements were wildly false. As
              13 an expert in the field of cryptocurrency litigation, Silver undoubtedly knew that Nano
              14 was a "real coin," not an ICO, when he stated otherwise. As a result, he must have
              15 further known that neither Nano Foundation nor LeMahieu profited off transactions
              16 made over BitGrail, since that is not how cryptocurrency works. After investigating
              17 the matter sufficiently to file a complaint, he also knew that Plaintiffs never stated
              18 "it’s against our ethos" to address and/or fix to the extent they could the third-party
              19 BitGrail hack. He also knew or recklessly disregarded that Plaintiffs were not under
              20 criminal investigation or at risk of going to "jail." Moreover, even a cursory review
              21 of LeMahieu's divorce papers reveals that he never "said [his Nano] had value and he
              22 said that he believed it was going up and he believed it was a security cause he put it
              23 on his security side of the affidavit." The divorce papers, which Silver either ignored
              24 or recklessly failed to consult, say nothing of the sort. At the time of LeMahieu’s
              25 divorce, in 2016, the Nano had next to no value, which is plainly evident from the
              26 fact that it was not even sold on exchanges at the time. A review of market rates in
              27 2017 reveals that its value even at that time was less than a penny, even after Nano
              28 had been introduced to exchanges and grown in value.
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               1               It is inconceivable that Silver actually believed these statements. If he
               2 somehow did, his belief was rotted in a "reckless disregard" as to their truth or
               3 falsity such that they are not protected speech. See Masson v. New Yorker Magazine,
               4 Inc., 501 U.S. at 521 (concluding that misquotations of a public figure, implying he
               5 had said things he did not say, raised a triable issue of fact for jury).
               6               Even in the event the Court were to find that Silver's actual malice has not been
               7 sufficiently demonstrated at this time, the Motion still cannot be granted. Actual
               8 malice requires evidence of mens rea. Id. at 513 (actual malice is a question of fact).
               9 In order to provide further evidence of Silver's state of mind, Plaintiffs require the
              10 opportunity to conduct discovery in this matter, including written discovery and a
              11 meaningful deposition concerning what he knew, what he did not know, and the steps
              12 he took or did not take to investigate the falsity of his statements before he made them.
              13 Accordingly, "discovery must be permitted" before Silver's motion can be granted.
              14 Planned Parenthood, 890 F.3d at 833; see Code Civ. P., § 425.16(g); 1-800 Contacts,
              15 Inc. v. Steinberg, 107 Cal.App.4th 568, 593 (2003) (good cause shown if "a defendant
              16 or witness possesses evidence needed by plaintiff to establish a prima facie case.")
              17               2.    Nano Is Likely to Succeed on its Trade Libel Claim
              18               Trade libel is “‘an intentional disparagement of the quality of property, which
              19 results in pecuniary damage.’” Aetna Casualty & Sur. Co. v. Centennial Ins. Co.,
              20 838 F.2d 346, 351 (9th Cir. 1988). It includes "all false statements concerning the
              21 quality of services or product of a business." ComputerXpress, Inc. v. Jackson, 93
              22 Cal.App.4th 993, 1010 (2001).
              23               Here, Silver made false statements disparaging the quality of the product that
              24 LeMahieu and Nano Foundation developed and service, the Nano. Specifically,
              25 Silver said that "Nano is not really a real coin … they were an alternative coin and
              26 they weren’t really a real coin". These statements were false. Silver made them with
              27 knowledge they would harm Nano Foundation, as speaking as an official panelist and
              28 resident expert at an industry panel, his false statement to those in the market for
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               1 Nano necessarily carried an indicia of reliability. Silver induced members of the
               2 audience to not deal with Nano Foundation as its signature product has been
               3 mischaracterized as a not a real coin, which would make it a risky investment tool.
               4 Thereafter, resulting at least in part from Silver's statements, Nano fell by 75%.
               5               3.    The Intentional Interference Claim Should Succeed
               6               In order to prove a claim for intentional interference with prospective
               7 economic advantage, a plaintiff has the burden of proving five elements: (1) an
               8 economic relationship between plaintiff and a third party, with the probability of
               9 future economic benefit to the plaintiff; (2) defendant's knowledge of the
              10 relationship; (3) an intentional act by the defendant, designed to disrupt the
              11 relationship; (4) actual disruption of the relationship; and (5) economic harm to the
              12 plaintiff proximately caused by the defendant's wrongful act, including an
              13 intentional act by the defendant that is designed to disrupt the relationship between
              14 the plaintiff and a third party. (Korea Supply Co. v. Lockheed Martin Corp., 29
              15 Cal.4th 1134, 1153–1154 (2003)). Here, Silver targeted LeMahieu's industry peers
              16 with venomous lies, accusing him of being a criminal and presenting sordid, false
              17 marital details. As a result, LeMahieu has been shunned by industry peers and seen
              18 his business network dry up, causing him economic harm.
              19 D.            PLAINTIFFS SHOULD BE AWARDED THEIR FEES
              20               Having failed to establish the first step of the anti-SLAPP inquiry, Silver’s
              21 motion lacks merit. California law calls for an award of attorney's fees in such
              22 circumstances. Cal. Code Civ. P. § 425.16(c)(l) (mandatory fee award for "frivolous"
              23 filing).
              24               His motion should be denied and Silver ordered to pay Plaintiffs' fees.
              25 DATED: July 15, 2019                          ROSENFELD, MEYER & SUSMAN LLP
              26                                                By:         /s/ Ryan M. Lapine
                                                                            Ryan M. Lapine
              27                                               Attorneys for Plaintiffs NANO
                                                               FOUNDATION, LTD. and COLIN
              28                                               LeMAHIEU
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